        Case 1:20-cv-00687-GTS-DJS Document 23 Filed 06/30/20 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
         FOR THE DISTRICT OF NORTHERN DISTRICT OF NEW YORK
                                         )
AJCO
____________________,                    )
            Plaintiff(s)                 )
                                         )
      v.                                 )    CASE NO.____________________
                                                      20-cv-687
                                         )
Cuomo
____________________,                    )
            Defendant(s)                 )
                                         )

                                       REQUEST FOR TRANSCRIPT

         TO: Hannah Cavanaugh                                     , Court Reporter / Transcriber.

        Notice is hereby given that an official transcript1 of a proceeding has been requested of
the following portion(s) of the proceedings:

The entire proceeding on the record on June 30, 2020. Overnight service is requested.
______________________________________________________________________________

______________________________________________________________________________

       The party requesting the transcript must also provide the Court Reporter / Transcriber
with a FORM AO 435 Transcript Order2. This form is available on the Court’s website at
www.nynd.uscourts.gov.,

        Please note that if the Transcript request is for an appeal, the requestor must also file the
appropriate transcript appeal forms that are available on the 2nd Circuit Webpage at
http://www.ca2.uscourts.gov/.
                                                                                                     Digitally signed by Chris Liberati-Conant
                                                                   Chris Liberati-Conant Date: 2020.06.30 12:09:57 -04'00'
                                                                 S/__________________________________
                                                                 Attorney for__________________________
                                                                                 Defendant
                                                                 NDNY Bar Roll #_____________________
                                                                                             700466
                                                                 Address:____________________________
                                                                          Office of the Attorney General, The Capitol,Albany, NY 12224




         1
          Upon the filing of the official transcript with the Clerk of Court in a civil or criminal proceeding by the
court reporter, the parties will have five (5) business days to file a Notice of Intent to Request Redaction. For
additional information on the Court’s Policy concerning redaction of transcripts please visit the Court website at
www.nynd.uscourts.gov.
         2
          For Criminal transcript requests by a CJA Panel Member please request from the Clerk’s Office a CJA-24
Transcript Voucher form and have it approved by the presiding judge prior to filing this form.
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                                                                      Certificate of Service

                                   6/30/2020
          I hereby certify that on ________________ , I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will send notification to the following:
___________________________________________________________________________,
Plaintiffs' counsel


and that I mailed by United States Postal Service the document to the following non CM/ECF
participants:__________________________________________________________________.

                                Digitally signed by Chris Liberati-
  Chris Liberati-Conant         Conant
S/_____________________________
                        Date: 2020.06.30 12:12:09 -04'00'




ndny notice of filing of official transcript 1/16/06
